
PER CURIAM.
The appellant challenges an order denying his motion to correct his illegal sentence. The appellant alleged that he is entitled to resentencing under Heggs v. State, 759 So.2d 620 (Fla.2000). His of*547fense date of October 17, 1995, falls within the window period for claims under Heggs. See Trapp v. State, 760 So.2d 924 (Fla. 2000). The appellant alleged also that the sentence he received was greater than that available under the 1994 guidelines. The trial court denied the appellant’s motion, but failed to attach documents to the record to support its reasoning. Therefore, we REVERSE and REMAND to the trial court to attach portions of the record which conclusively refute the appellant’s claim or to reconsider the merits of the claim that he is entitled to relief under Heggs.
MINER, WOLF and VAN NORTWICK, JJ., concur.
